

Matter of Roundtree v Jackson (2019 NY Slip Op 03694)





Matter of Roundtree v Jackson


2019 NY Slip Op 03694


Decided on May 9, 2019


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 9, 2019

Friedman, J.P., Renwick, Kapnick, Kahn, Oing, JJ.


9293 -1050] 4497/17 178/19

[*1] In re Myron Roundtree, Petitioner,
vHon. Melissa Jackson, etc. et al., Respondents.


Myron Roundtree, petitioner pro se.
Letitia James, Attorney General, New York (Melissa Ysaguirre of counsel), for Hon. Melissa Jackson, respondent.
Cyrus R. Vance, Jr., District Attorney, New York (Valerie Figueredo of counsel), for Cyrus R. Vance, Jr., respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: MAY 9, 2019
CLERK








